                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

IN RE:                                             Bankruptcy Case No. 23-43403-MLO
                                                   Chapter 11
ARK LABORATORY, LLC,                               Hon. Maria L. Oxholm

      Debtor.
______________________________________/

              STIPULATION TO ORDER GRANTING 6600 HIGHLAND, LLC
                        RELIEF FROM AUTOMATIC STAY

         Ark Laboratory LLC (“Debtor”). 6600 Highland LLC, a creditor and a landlord of the

Debtor (“Landlord”) and the Official Committee of Unsecured Creditors (“Committee”), by and

through their respective counsel, hereby stipulate to entry of the Order Granting 6600 Highland,

LLC Relief from Automatic Stay, attached as Exhibit A to this Stipulation.


/s/ Robert N. Bassel                             /s/ Steven Alexsy
Robert N. Bassel (P48420)                        Steven Alexsy (P33438)
P.O. Box T                                       29580 Northwestern Highway
Clinton, MI 49236                                Suite 1000
(248) 677-1234                                   Southfield MI 48075
bbassel@gmail.com                                 (248) 559-5555
Attorney for Debtor                              sa@alawdetroit.com
                                                 Attorney for 6600 Highland, LLC


/s/ Judith Greenstone Miller_____
Judith Greenstone Miller (P29208)
27777 Franklin, Suite 2500
Southfield, MI 48034
(248) 351-3000
jgmiller@taftlaw.com
Attorney for the Committee




  23-43403-mlo      Doc 166    Filed 07/24/23    Entered 07/24/23 11:01:32       Page 1 of 4
128065745v2
                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN RE:                                               Bankruptcy Case No. 23-43403-MLO
                                                     Chapter 11
ARK LABORATORY, LLC,                                 Hon. Maria L. Oxholm

      Debtor.
______________________________________/                     EX. A

                        ORDER GRANTING 6600 HIGHLAND, LLC
                          RELIEF FROM AUTOMATIC STAY

         THIS MATTER COMES BEFORE THIS COURT based on the stipulation of Ark

Laboratory, LLC, (“Debtor”), 6600 Highland, LLC (“Landlord”) and the Official Committee of

Unsecured Creditors (“Committee” and, together with the Debtor and the Landlord, the

“Parties”) regarding the Landlord’s request for relief from the automatic stay. As stipulated to

by the Parties, the Court having reviewed this Order and finding that:

         1.    On July 1, 2021 the Debtor and the Landlord entered into the Gross Lease

(“Lease”) for Units 1,2,3,4, 5 and 6 at 6600 Highland Road, Waterford, Michigan (“Premises”).

         2.    On April 12, 2023 a hearing was held in the 51st District Court for Oakland

County Michigan (the “District Court”) in Case No. 23-0658-LT (the “State Court Action”). The

District Court granted judgment in the amount of $231,210 against the Debtor and in favor of the

Landlord and ordered that a writ of restitution to evict Defendant from the Premises may be

issued if the amount of the judgment was not paid within 7 days in the State Court Action. A

judgment (the “Judgment”) was submitted for entry on that date and was entered by the District

Court on April 14, 2023.




  23-43403-mlo      Doc 166     Filed 07/24/23     Entered 07/24/23 11:01:32     Page 2 of 4
128065745v2
        3.      On April 12, 2023 (“Petition Date”), after the hearing in the District Court, the

Debtor filed a petition under chapter 11 of the United States Bankruptcy Code, 11 U.S.C §§ 101,

et seq. (the “Bankruptcy Code”).

        4.      The restraining provisions of 11 U.S.C. 362(a) automatically took effect upon the

commencement of the chapter 11 case.

        5.      There is no equity in the Lease or the Premises and neither the Lease nor the

Premises are necessary for an effective reorganization of the Debtor.

        6.      The Landlord is entitled to relief from the automatic stay as it applies to the Lease

and the Premises.

        7.      The Lease is rejected by the Debtor as of the Petition Date.

        8.      The Landlord’s claim for unpaid rent as reflected in the Judgment is an unsecured

claim and is subject to the limitations set forth in Section 502 (b)(6) of the Bankruptcy Code.

The Landlord does not have any other claims related to the Lease and the Premises in this case.

        NOW, THEREFORE, IT IS HEREBY ORDERED that the automatic stay is hereby

modified in favor of the Landlord as to the Lease and the Premises.

        IT IS FURTHER ORDERED that the Landlord is permitted to exercise any of its state

law and non-bankruptcy remedies to enforce its rights under the Lease to recover possession of

the Premises.

        IT IS FURTHER ORDERED that the stay provisions of Bankruptcy Rule 4001(a)(3) are

waived, and the Landlord may immediately enforce and implement this Order.




                                                  2
  23-43403-mlo       Doc 166     Filed 07/24/23       Entered 07/24/23 11:01:32       Page 3 of 4
128065745v2
        IT IS FURTHER ORDERED that this Order shall be binding and effective despite any

conversion of this bankruptcy case to a case under any other chapter of title 11 of the Bankruptcy

Code.




                                                 3
  23-43403-mlo      Doc 166     Filed 07/24/23       Entered 07/24/23 11:01:32     Page 4 of 4
128065745v2
